CaSe: 3216-CV-OO416-Tl\/|R-l\/|Rl\/| DOC #Z 3 Filed: 09/30/16 Page: l Of 11 PAGE|D #Z 19

[N 'I`HE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN I)ISTRICT OF OHIO
D_IVISION

Audrey F. Edmonds ‘
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l

(Enter above the name ol‘the Defendant in this Action)

 

lt` there are additional Defendants, please list them:

 

 

 

 

COMPLAINT

l. Parties to the action:

Plaintifi': Plaee your name and address on the lines below. The address you give must he the address where
the court may contact you and mail documents to you. A telephone number is requiredl

Audrey Edmonds
Name - Full Name Plea_'se - PRlNT

3033 SpringMeadows Ln_
Street Address

M 45426
City, State and Zip Code

937 -951-9779
Telephone Number

Il`there are additional Plaintifi"s in this suit, a separate piece of paper should be attached immediately behind this
page with their full names, addresses and telephone numbers. lf there are no other Plaintifl`s, continue with this
form.

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Defendant(s):

Place the name and address of each Det`endant you listed in the caption on the first page of this Complaint. This
form is invalid unless each Defendant appears with full address for proper service

1_ Of&ce Of Genera| Counsei
Narne - Full Name Please

810 Vermont Avenue NW Washington, DC 20420
Address: Street, City, Statc and Zip Code

 

 

 

 

 

 

 

 

 

 

If there are additional Def'endants, please list their names and addresses on a separate sheet of paper.

lI. Subject Matter .Iurisdiction
Check the box or boxes that describes your lawsuit
M Title 28 U.S.C. § 1343(3)
[A civil rights lawsuit alleging that Det`endant(s) acting under color ol` State law, deprived you ot`a

right secured by federal law or the Constitution.]

34 rate 28 U.s.C. § 1331
[A lawsuit “arising under the Constitution_. laws, or treaties of the United States."']

l'.] Titie 28 U.S.C. § 1332{a)(l)
{A lawsuit between citizens of different states where the matter in controversy exceeds $75,000.]

ll Title United States Code, Section
[Other federal status giving the court subject matterjurisdiction.]

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lll. Statement of Claim

Please write as briefly as possible the facts of your case. Describe how each Det`endant is involved. Include the
name of all persons involved, give dates and places

Number each claim separately Use as much space as you need. You are not limited to the papers we give you.
At‘tach extra sheets that deal with your statement claim immediately behind this piece ofpaper.

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Statement of Claim (Attachment)

Plaintiff (Audrey F. Edmonds) a Veteran of the United States Air Force,
Honorably Discharged, has had her Civil Rights violated by fraudulent activity Within the
United States Federal Govemment, Veteran Affairs Departmental Organization Agencies.

Plaintist seeking monetary damages due to consistent physociological, mental
and physical abuse which resulted in detrimental financial hardship and public
humiliation, for the following reasons

Negligence

Medical Mal Practice

Breach Of Contract

Unlawful Discrimination, of Ethnicity and Sexuality of (Heterosexual)
Slander

Deformation Of Character

° Assault

F ailure to Privatize her Mental Health and Physical Health Records.

° Consistently Forced out of a Living Environment.

Plaintiff seeks monetary damages in the amount of 3450,000,000.00, against the
United States Department Of Veteran Affairs Agency, due to severe negligence in
reference to her medical and mental health treatment at the Veteran Affairs Facilities and
the Veteran Medical Health Facilities, listed below.

1, Mental Health

2. Eye Clinic

3. Dental Clinic

DISCRIMINATION

As an Air Force Veteran, my military contract awarded me a guaranteed (4) year
contract as an Educational Opportunity incentive l was 17 years old When I entered the
Air Force, upon returning home l enrolled into College, l applied for my educational GI
Bill, the educational resources were essential due to my circumstance I never received a
reply through the mail, regarding the status of the GI Bill. Therefore, I drove to the
nearest Veteran Affairs Office, they checked the status of my educational resources, and
assured me that they had been processed, effectively I waited another two months and
decided to drive the Veterans Affairs Offlce again, unfortunately I had to take two young
children with me, and this time the Personnel Staff member referred me to a different
Department. He assured me that if I spoke With an individual within, a another
department they Would be able to assist me in securing availability of my educational
assistance

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MEDICAL MAL PRACTICE

l was waiting outside an office when a young Physician call me into her office, l
went into her office with my small children, she introduced herself, as Physician
Assistant, as an assistant l knew she didn’t have the authority to diagnosis me as one of
her patients, which I were definitely weren’t It was my first introduction to her,
she made several inquired of my aspirations regarding my future career,

I responded to all of her inquiries, the session lasted only 15 or 20 minutes, I
communicated with her only because I was new within the civilian world, l thought that It
was essential that I communicate with her in order for the veteran’s Departmth to
authorize my educational resources I wasn’t aware that l was being medically evaluated
by a Non Physician, ( that was lllegal). I left her office with my children, and returned
to College. After several additional months, I hadn’t received my Veteran’s Educational
Gl Bill. l returned to the Veterans Affairs office/Hospital again. I inquired of the office
which the Physician were assigned however, l was informed that she was an Intern
Practicing Physician, in the process of attaining her Medical License. l requested a copy
of my medical records because I realized that she was affiliated with a Mental Health
Department, at that moment I realized, this particular lntern had diagnosed my Mental
Health Status as a (Schizophrenic), l was devastated.

This Intern never informed me that she wasn’t a Licensed Physician, she didn’t
have the professional authority to medically diagnosis any patients This circumstance
deviated from medically professional standards, she intentionally diagnosed me with a
severe mental health disorder, (The most severe mental health disorder), and she only
communicated a moment of an extremely brief conversation with me, and she terminated
my entire life accomplishments, after her unprofessional opinion of my mental health.
This Physician lntentionally discriminated against me, and she had no reason to imply
that I had any mental health issues; our conversation involved my authorization of
accebility of my educational resources

NEGLIGENCE

I continued to try and pursue my education incentives, but it was unfortunate for
me because l never ever was awarded the opportunity to utilize my Veteran Educational
Resources, which Ihad earned from the United States F ederal Government Department of
Defense as an appreciation for my dedication and the contribution to my country.

Due to not having assess to the Veteran higher achievement resources which l had
secured for my future, I eventually Were subjected to financial hardship My home were
foreclosed upon. l needed to pursue an opportunity, that’s when I went to Dayton Ohio,
My objective was to obtain employment with the Veterans Health Center, since I was a
veteran, and my previous Work experience was Administration. l applied for several
positions, after being rejected for several positions I decided that if l were to have the
mental health diagnosis relinquished from rny military medical records, I’d possibly have

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a greater opportunity to pursue higher achievement in my current career.
DELFORMATION OF CHARACTER AND SLANDER

So I went back to the United States Department of Veteran Affairs Hospital’s
mental health department, and discussed my circumstance with an official Physician, l
informed her of what had transpired, bowl had been misdiagnosed and that I was
depressed due to the fact that l had encountered this particular hardship circumstance,
and I realize that l was explaining my circumstance, but no one were listing to me, she
wanted to prescribe me medication, apparently she believed that I was Schizophrenic,
because that‘s what was evident in my records ( I perceived that the original diagnosis
could be repudiated Later she decided to add injury to insult, she decided to diagnosis
me as a (Paranoid Schizophrenic). I was severely humiliated after she placed that
information into my records Again, the Physician never informed me of the fact she had
diagnosed me as a Paranoid Schizophrenic. I just decided to check my medical records
again, and I discovered that again, a Mental Health Medical employee had entered
untruth information within my Mental Health Records, I immediately went to her office
and asked her why, Would classify me as being so severely disturbed thn I am trying to
accomplish greater achievements same as you have achieved I asked her if she would
relinquish the negative original diagnosis and her diagnosis Which are stereotypes which
has destroyed my life. I assumed she had relinquished the fraudulent mental health
diagnosis However, the last time l checked my records, she had not retracted her
intentional ( plagiarized) medical assessment of my mental state and my well being
currently.

fn 2016 I received a letter form the Mental Health Clinic, l haven’t returned to
the Medical Clinic, because I’m being consistently medically evaluated incorrectly and
fraudulently, or discriminated against consistently.,

MEDICAL MAL PRACTICE

I have encountered severe complication with my eyes/ vision because the eye
clinic, were installing solution within my eyes which burned, and later evaluated me and
continually prescribed me the incorrect prescription, for glasses I currently have several
pair eye glasses an I can’t see out of any of them, every time I visit the clinic my
appointments With student interns and the arcn’t generally supervised by experienced
Medical Doctors;.

I continued to visit the VA Medical Clinic to repair my dental complications
which are extremely severe, and necessary for comforting relief, I have almost lost my
left eye due to nerve damage form acquiring dental services ii'om student intern, within
the dental clinic at the veteran’s clinic. l went to dental clinic for approximately 5 years,
an my mouth considerable much worse that prior to attaining treatment Majority of the

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departments which assist ed me as a veteran were extremely discriminative , l have
experience severe negligence, within the dental clinic, I was even burned during a
procedure once, and there’s an exceptional number of individuals treating patients, when
a patient should be assigned to only one individual, it’s embarrassing to have someone
observing the deterioration in your mouth, therefore no one wants the entire community
to be laughing at them for the discruction transpiring with ageing teeth. However, some
people think it’s funny. l became humiliated, for anyone to observe my dental issues,
because they are apparently much more sever currently than they were prior to attending
the Dental Clinic. After five years I know lf some one really were concemed of the
implications that a persons dental appearance reflects to the world. I am embarrassed of
what the VA Medical Health Clinic has done to my once beautiful smile.

ASSAULT REGARDING MY SEXUALITY AS A HETEROSEXUAL AND FAILURE
TO PRIVATCE MY PERSONAL MEDICAL RECORDS

l have been victimized by two assault attempts on two different occasions
One incident occurred the year of 201 5. The assailants were transgender/gay females
These assailants attempted to abduct or force me into a van. l fought desperately in order
to escape. They were shouting critical remarks at me and making accusations pertaining
to my medical records personal information, regarding why I was diagnosed as a
Schizophrenic, according to their brutal remarks (I was diagnosed as a schizophrenic
because l was a heterosexual female), they were saying critical remarks about my mental
health as if they knew someone whom were affiliated with accessibility to my medical
records, They even stated that, it was why they listed me as crazy because l was
heterosexual I am even more so traurnatized after the attempted abduction, regarding the
fraudulent medical diagnosis imposed upon me regarding my mental health.

This attempted abduction was evident to me that my medical diagnosis with the
mental health clinic was published and not privatized or kept confidential lt was
embarrassing to be violated by total strangers and to be informed that they had access to
my most embarrassing secrets, and also having them assaulting me and humiliating me
due to my sexuality. I have encountered an exceptional amount of hardship only because l
am a female and l am heterosexual

l was also victimized by another gay female whom were very large and threw me
to the ground and began kicking me continuously, because l was a heterosexual an also
accusing me of being mental, at the time l didn‘t know what meaning of mental was.

Apparently my medical records were not officially privatized properly and the
legitimacy of my mental health evaluation was a total joke. The F ederal Government’s

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elevated the opportunity for excessive physical and mental abuse, by enforcing gay laws
upon the vulnerable american public.

The Federal Government failed to protect my Civil Rights several times by not
providing the essential resources to sustain my safety, by forcing me into the mental
health system and intentionally diminishing my credibility, by not allowing me to
obtaining access to the appropriate resources, which are my earned educational
opportunities

CIVIL RJGHTS VIOLATION

My Civil Rights have been violated in my Professional life and my private life, l
have suffered tremendously. My career completely diminished and l encountered
extensive financial hardship because of the United Stated Department Of Veteran Affairs
negligence and unethical obligation to accomidate myself as a veteran of the United
States Government whom only requested the resources which I earned. It would have
been most beneficial if would have considered the fact that their critical actions has
imposed severe punishment on innocence individuals,

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BREACH OF CONTRACT

My Military Records were switched l believe even my dental records were
switched, my smile was lovely until I went to Veterans Medical Facility, l believe they
intentionally sabotaged my teeth to so my dental records would reflect the
characterizations as someone else. lt appears that the Department of Veteran Affairs
transitioned my entire career to reflect the characteristics of someone else, My
performance records during my Military tenure were nothing less than excellent Not that
lan perfect, l just wanted the recognition which I deserved, for my sacrifices I surely
didn’t deserve to be abused, for my patriotisrn.

The F ederal Government Breached the Contract when they did not authorize me
the opportunity to utilize the access to my four year paid educational tuition. After the
Breaching of A Contract, they intentionally forced me into their Mental Health Clinical
Health Programs. I was forced upon disability, when the lntern, fraudulent diagnosed me
as a Schizophrenic, and placed her diagnosis in my medical records without my
knowledge This was nothing less than medical discrimination, from both physicians,
and assistant physician They didn’t event inform me to my face that l had a mental
health condition Doctors always inform their patients if they have a medical condition,
so they can make an intelligent decision regarding their care.

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lV. Previous lawsuits:

lf you have been a Plaintiff in a lawsuit, for each lawsuit state the case number and caption.
(Example1 Case Number: 2:08-cv-728 and Caption: .lohn Srnith vs. lane Doe).

Case Number Cagtion

/\

t / t /' vs. /`

`\/
/\ /\

VS.

V. Relief

ln this section please state (write) briefly exactly what you want the court to do for you. Make no legal
argument, cite no case or statutes

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l state under penalty of perjury that the foregoing is true and correct Executed on

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signature or‘Praimin‘ "~e

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Relief

Plaintiff suing the Defendant United States Department of Veteran Affairs
for monetary damages in the amount of $450,000,000.0() for violation of
her Civil Rights, Discrimination, Severe Negligence, Slander, Mental
Health Medical Mai Practice, Dental Medical Mal Practice, Vrsion Medical
Mal Practice, Medical diagnosis implemented upon patients by unlicensed
Physicians, and Physician plagiarism.

Plaintiff has encountered severe financial hardship due to the Defendant’s
Discriminatory Classification of her characteristic and personality
judgments

Plaintiff has not been able to establish secure employability due to
detrimental medical negligence and discrimination which terminated her
credibility as an American Citizen and her accessibility to secure Social
Security resources

Plaintiff request that the diagnosis of (Sehizophrenia) which was
implemented in her medical records be repudiated, by a Department of
Veteran Affairs, Mental Health Licensed Physician.

Plaintiff request that the (Plagiarism) regarding her diagnosis of a (Paranoid
Schizophrenic) be repudiated, by a Department of Veteran Affairs, Mental
Health Licensed Physician.

Plaintiff request that all fraudulent diagnosis of her being a
(Schizophrenic) and a (Paranoid Schizophrenic) be expunge from her
official Department of Veteran Affairs, medical health records

Plaintiff request that her veteran financial resources not be affected by this
legal circumstantial situation, which was originated by the Defendant, the
Department Of Veteran Affairs.

Plaintiff request that her legacy and her Dedication to the United States of
America as an Air Force Military Technical Sergeant be a reflection of her
true credentials which are of respectability and credibility; Honorably.

